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14
     and Endeavor Group Holdings, Inc.
15

16                             UNITED STATES DISTRICT COURT
                                    DISTRICT OF NEVADA
17

18
     KAJAN JOHNSON and CLARENCE                        Case No.: 2:21-cv-01189-RFB-BNW
19   DOLLAWAY, on behalf of themselves and all
     others similarly situated,                        ZUFFA, LLC’S CERTIFICATE OF
20                                                     INTERESTED PARTIES
21                           Plaintiffs,
             v.
22

23   ZUFFA, LLC, (d/b/a Ultimate Fighting
     Championship and UFC) and Endeavor Group
24
     Holdings, Inc.,
25
                              Defendants.
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                          ZUFFA, LLC’S CERTIFICATE OF INTERESTED PARTIES
                                   CASE NO.: 2:21-cv-01189-RFB-BNW
     Case 2:21-cv-01189-RFB-BNW Document 19 Filed 09/10/21 Page 2 of 3




1            Pursuant to Local Rule 7.1-1, the undersigned, counsel of record for Zuffa, LLC

2    (“Zuffa”), certifies that the following may have a direct, pecuniary interest in the outcome of this

3    case:

4               •   Endeavor Group Holdings, Inc., wholly owns Zuffa, LLC.

5            These representations are made to enable judges of the Court to evaluate possible

6    disqualifications or recusal.

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     Dated: September 10, 2021                     Respectfully submitted,
9

10                                                 By      /s/ Stacey K. Grigsby

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19                                                 Attorneys for Defendants Zuffa, LLC and Endeavor
                                                   Group Holdings, Inc.
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                            ZUFFA, LLC’S CERTIFICATE OF INTERESTED PARTIES
                                     CASE NO.: 2:21-cv-01189-RFB-BNW
     Case 2:21-cv-01189-RFB-BNW Document 19 Filed 09/10/21 Page 3 of 3



                                     CERTIFICATE OF SERVICE
1

2           The undersigned hereby certifies that service of the foregoing, Zuffa, LLC’s Certificate
3    of Interested Parties, was served on the 10th day of the September, 2021 via the Court’s
4    CM/ECF electronic filing system addressed to all parties on the e-service list.
5                                                         By      /s/ William A. Isaacson
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                           ZUFFA, LLC’S CERTIFICATE OF INTERESTED PARTIES
                                    CASE NO.: 2:21-cv-01189-RFB-BNW
